Petitioners herein have moved for a rehearing, urging that on appeals from an award of the Industrial Commission the jurisdiction of this court is limited to affirming or setting aside an award in toto, and that we may not, as in all other civil and even in most criminal appeals, modify the judgment rendered by the lower tribunal. This position is correct. While, of course, we do point out in effect, when an award is set aside, what the commission must do, *Page 353 
unless it wishes its subsequent award also be reversed, so that the rule is more of form than of practical value, nevertheless the legislature, in its wisdom, has made this distinction, and we must observe it. Section 1452, Revised Code of 1928; King v.Alabam's Freight Company, 40 Ariz. 363, 12 P.2d 294.
For this reason, our former opinion is modified by striking therefrom the last paragraph and substituting in place thereof the words, "The award of the commission is set aside."
ROSS, C.J., and McALISTER, J., concur.